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 8                           UNITED STATES DISTRICT COURT

 9                         CENTRAL DISTRICT OF CALIFORNIA

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11   TRACY L. M.,                            )     NO. CV 20-2127-E
                                             )
12                    Plaintiff,             )
                                             )
13        v.                                 )     JUDGMENT
                                             )
14   ANDREW SAUL, Commissioner of            )
     Social Security Administration,         )
15                                           )
                      Defendant.             )
16                                           )

17

18        IT IS HEREBY ADJUDGED that the decision of the Commissioner of

19   the Social Security Administration is reversed in part and the matter

20   is remanded for further administrative action consistent with the

21   Opinion filed concurrently herewith.

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23              DATED: November 6, 2020.

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25                                                   /S/
                                                CHARLES F. EICK
26                                      UNITED STATES MAGISTRATE JUDGE

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